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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                             )    Civil Action No. 1:25-cv-00306
 Refugee and Immigrant Center for            )
 Education and Legal Services, et al.,       )
                                             )
              Plaintiffs,                    )
                                             )
 v.                                          )
                                             )
 Kristi Noem, Secretary, U.S. Department     )
 of Homeland Security, et al.,               )
                                             )
              Defendants.                    )
                                             )



                            JOINT STATUS REPORT AND
                       PROPOSAL FOR FURTHER PROCEEDINGS
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       On February 22, 2025, the Court ordered the parties to “file a joint status report on or before

February 26, 2025, at 12:00 p.m. proposing a schedule for further proceedings in this case,

including a schedule for filing the administrative record, for addressing class certification, for

resolution of Plaintiffs’ Motion for a Preliminary Injunction, Dkt. 14, and for resolution of any

dispositive motions.” Dkt. 23. The Court further ordered that “[t]he joint status report should also

address whether the Court should consolidate the hearing on Plaintiffs’ Motion for a Preliminary

Injunction with the merits, pursuant to Fed. R. Civ. P. 65(a)(2).” Id.

       The Parties have conferred and agree that the Court can consolidate the hearing on

Plaintiffs’ Motion for a Preliminary Injunction with the merits under Rule 65(a)(2).

       The Parties further agree and propose that the Court hold in abeyance any claims based on

the administrative record, namely portions of the Sixth Claim for Relief raising arbitrary-and-

capricious arguments under the Administrative Procedure Act, see Amended Complaint ¶¶ 133,

138, and all of the Seventh Claim for Relief, see id. ¶¶ 139-143. Holding these claims will avoid

the need to set aside additional time in the schedule for Defendants to assemble, review, certify,

and produce the administrative record. Defendants agree to provide the relevant guidance

documents even though they are not providing the administrative record, though Defendants may

need to redact portions of the guidance documents in their public filings and produce them subject

to a protective order, or file them under seal. Plaintiffs agree not to oppose a motion to file the

guidance documents under seal if Defendants determine that is necessary.

       The Parties further agree and propose that the Court hold in abeyance the deadline under

Local Civ. R. 7(n)(1) to provide a certified list of the contents of the administrative record and the

deadline for Defendants to answer or otherwise respond to the amended complaint.




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       The Parties further agree and propose that the Court treat Plaintiffs’ Motion for a

Preliminary Injunction, Dkt. 14, as a motion for summary judgment.

       Based on those agreements, the Parties propose the Court set the following deadlines for

further proceedings in this case:

              Defendants produce all operative guidance documents implementing the

               Proclamation by March 17, 2025;

              Defendants file combined Motion for Summary Judgment and Opposition to

               Plaintiffs’ Motion for Summary Judgment of up to 65 pages by March 24, 2025;

              Defendants file response to Plaintiffs’ Motion for Class Certification, Dkt. 13, by

               March 24, 2025;

              Plaintiffs file combined Response to Defendants’ Motion for Summary Judgment

               and Reply in Support of Plaintiffs’ Motion for Summary Judgment of up to 45

               pages by April 7, 2025;

              Plaintiffs file Reply in Support of Motion for Class Certification by April 7, 2025;

              Defendants file Reply in Support of Defendants’ Motion for Summary Judgment

               of up to 25 pages by April 21, 2025.




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Dated: February 26, 2025          Respectfully submitted,


                                  /s/ Keren Zwick
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                               CERTIFICATE OF CONFERENCE

        I certify that on February 25 and 26, 2025, the Parties conferred on the information

contained in this joint status report.

                                                   By: /s/ Brian C. Ward
                                                       BRIAN C. WARD
                                                       Senior Litigation Counsel
                                                       United States Department of Justice




                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2025, I electronically filed this joint status report with

the Clerk of the Court for the United States District Court for the District of Columbia by using

the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                                   By: /s/ Brian C. Ward
                                                       BRIAN C. WARD
                                                       Senior Litigation Counsel
                                                       United States Department of Justice




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